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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
        v.                                    :        Case No. 23-CR-341 (RBW)
                                              :
ANNA LICHNOWSKI,                              :
                                              :
                Defendant.                    :

         UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION IN LIMINE
                   REGARDING ELECTION BOARD LAWSUIT

        The United States hereby respectfully responds to the defendant’s motion in limine regarding

her election board lawsuit, Doc. 43.

        Based on its current understanding, the government does not intend to introduce at trial any

facts related to the defendant’s 2021 lawsuit against the Ocean County, New Jersey Election Board.

Should the government discover additional facts about the lawsuit that it considers relevant to this

case or that may be used for impeachment purposes, it will raise those with the Court at the appropriate

time.

        The Court therefore should deny the defendant’s motion as moot.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                              By: /s/ Eric Boylan
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